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UNITED STATES BANKRUP'I`CY COURT
MIDDLE DISTRIC'I` OF FLORIDA
TAMPA DIVISION

In re: Case No. 8:08-bk-11059-CED

Intemational Turf Applicators, LLC Chapter 7

Debtor.
/

 

TRUSTEE'S MOTION TO APPROVE PROPOSED
COMPROMISE OF CONTROVERSY AND REQUEST FOR HEARING

Carolyn R. Chaney, Trustee, hereby gives notice to parties in interest, pursuant to the
provisions of F.R.B.P. 9019, and moves the Court to enter an order approving the following
proposed compromise of the estate’s interest in litigation pending in the U.S. District Court for
the Eastem District of Louisiana. The Trustee requests this matter be set for hearing and moves
that service of any Order granting or denying this motion be limited to the debtor, debtor’s
attomey, the Trustee, other parties to the proposed transaction, and objecting party, if any, and in
support thereof says:

l . Background:

On the Petition Date, July 25, 2008, the Debtor was involved in litigation pending in
the United States District Court for the Eastem District of Louisiana (Civil Action No. 07-
4528, Section E). In that matter, the Debtor had filed suit against Phoenix Associates Land
Syndicate, Inc. (“PALS”), Paul Alonzo, and Ronald Blackburn seeking recovery for a breach
of contract, breach of partnership, unfair trade practices, conversion, unjust enrichment,
detrimental reliance, and common law fraud all related to the Debtor’s work on a gravel mine
owned by PALS, located in St. Tammany Parish, Louisiana. This matter was set for trial on
June ll, 2009. However, PALS filed for Chapter ll bankruptcy protection the day before
trial, which necessitated a continuance to comply with the provisions of ll U.S.C. §362. The
litigation proceeded against Mr. Alonzo and Mr. Blackburn, and trial Was reset for January 14,
2010.l On the eve of trial, the parties reached an agreement which was memorialized as a
consent judgment.2

The Debtor filed a voluntary petition for relief under Chapter 7 of the United States
Bankruptcy Code on July 25, 2008 and this action became property of the bankruptcy estate.

 

1 This is the second time the Debtor prepared the case for trial prior to a last minute continuance requested by

Defendants.

2 The Chapter 7 Trustee has filed a Proof` of Claim on behalf of the Debtor in the PALS bankruptcy case.

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2. The Controversy:
Trustee's Position:

The Trustee alleges that the damages suffered by the Debtor, lntemational Turf
Applicators, Inc., were caused by actions of PALS. As such, PALS is liable to the bankruptcy
estate for the damages suffered by the Debtor and the estate.

3. Phoenix Associates Land Syndicate, Inc.’s Position:

Without admitting liability, Phoenix Associates Land Syndicate, Inc. has offered
$255,000.00 to settle the litigation. Under the terms of the consent judgment, Ronald
Blackburn agreed to pay $225,000.00 to the Trustee in two installments with $100,000 due on
or before April 7, 2010 and a second payment of 5125,000.00 due on or before July 7, 2010.

4. Compromise:

Phoenix Associates Land Syndicate, Inc. shall pay $225,000.00 to Carolyn R. Chaney,
Trustee, which the Trustee will accept in full satisfaction of any and all claims, known or
unknown, past, present or future, which the Debtor or the bankruptcy estate could assert against
Phoenix Associates Land Syndicate, Inc. as a result of the aforementioned litigation. The
Trustee will provide the appropriate releases after the compromise of this matter has been
approved by this Court. The Trustee has received the amount of $225,000.00 from Mr.
Blackburn. The District Court has entered its Order of Dismissal on July 26, 2011 ruling that
the consent judgment in favor of the Debtor has been fully satisfied.

5. Best Interests of the Estate:

The Debtor, International Turf` Applicators, Inc., suffered damages as a result of the
actions of Phoenix Associates Land Syndicate, Inc. (“PALS”), Paul Alonzo, and Ronald
Blackburn related to the Debtor’s work on a gravel mine owned by PALS. PALS, Paul
Alonzo, and Ronald Blackburn are liable to the bankruptcy estate on behalf of the Debtor, In
order to avoid the expense and uncertainty of litigation, PALS has offered a total of $225,000.00
to settle the litigation and the Trustee files this motion to settle the claim for that amount.

The settlement and compromise of this litigation as set forth above permits the Trustee to
avoid the burden, expense and uncertainty of litigation. lt allows the parties to resolve, fully and
forever, all past, present and future disputes among them. The compromise permits the Trustee
to make a timely distribution to allowed creditors in the case. lt is very possible that if this
matter were to proceed to trial, the estate would actually net less than it would with the current
settlement offer when taking into account the additional time and expense of litigation.

The Trustee has been informed by counsel that the settlement offer should be accepted
for the reasons set forth above, and that the settlement as outlined, represents fair value to the
estate when considering the totality of the circumstances

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WHEREFORE, for the foregoing reasons, the Trustee believes that the acceptance of the
settlement offer upon the terms set forth herein and the payment of $225,000.00 into the
bankruptcy estate is in the best interests of` the creditors of the estate and hereby requests that the
Court enter an Order approving the proposed settlement as described herein.

DATED: November 16, 2011. /s/Carolyn R. Chaney, Trustee
Post Office Box 530248
St. Petersburg, FL 33747-0248
Telephone: (727) 864-9851
Facsimile: (727) 864-3706
Email: carolvn.chanev@earthlink.nct

CERTIFICATE OF SERVICE

l HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished by
electronic or U.S. Mail Delivery, on November 16, 201 1, to:

Office of U.S. Trustee, at USTPRegionZl .TP.EC F@USDOJ.GOV

Debtor: Intemational Turf Applicators, Inc., 1313 E. Edgewood Drive, Lakeland, FL 33803
Attorney for Debtor: Allan Summers-Powell, Esquire, P.O. Box 6043, Palm I-larbor, FL 34684
Joseph F. Lavigne, Esquire, Jones Walker, 201 St. Charles Avenue, New Orleans, LA 70170
Attached Creditor Matrix.

/s/Carolyg R. Chaney, Trustee

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Lahel Matrix for local noticing

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Case 8:08-bk-11059-CRD
Hiddle District of Flori.da
Tampa

lied Hov 16 14:32:25 EST 2011
Caryl R. Delano

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The preferred mailing address lp] above has been substituted for the following entity/entities as so specified
by said entity/entities in a ltotice of Address filed pursuant to 11 U.S.C. 342(£) and Fed.R.Bank.F. 2002 lg) (4).

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Ford Hotor Credit Company LLC Wachovia Bank ld)Wacbovia Bank
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The following recipients may be/bave been bypassed for notice due to an undeliverable (u) or duplicate (d) address.

lu)Caterpillar Financial Services Corp. (uJFord Hotor Creclit Conpany LLC (u)Anna Harie Duffy
(d)ORIX Pinancial Services, Inc. Bnd of Label Matrix

c/o Katbleen S. ltcLeroy, Bsq. ltailable recipients 86

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